                                                              Case 2:20-cv-02907-MEMF-JEM Document 132 Filed 09/30/22 Page 1 of 6 Page ID #:3605



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                                                                                                                                             UNITED STATES DISTRICT COURT
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                                                                                                                              CENTRAL DISTRICT OF CALIFORNIA -- WESTERN DIVISION
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                                                 3 HUTTON CENTRE DRIVE, NINTH FLOOR




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                                                                                                                  13 EVOX PRODUCTIONS LLC, a                CASE NO. 2:20-cv-02907-MEMF(JEMx)
                                                                                         FAX: (714) 241-4445
                         ATTORNEYS AT LAW




                                                                                                                     Delaware limited liability
                                                                                                                  14 company,                               JOINT STIPULATION TO AMEND
                                                                                                                                                            DISPOSITIVE MOTION HEARING
                                                                                                                  15                      Plaintiff,        DEADLINE
                                                                                                                  16         v.
                                                                                                                  17 AOL INC., a Delaware                   Action Filed:   March 27, 2021
                                                                                                                     corporation; OATH INC., a              Trial Date:     October 4, 2021
                                                                                                                  18 Delaware corporation; and              Judge:          Ewusi-Mensah Frimpong
                                                                                                                     VERIZON MEDIA INC., a
                                                                                                                  19 Delaware corporation; and DOES
                                                                                                                     1-10,
                                                                                                                  20
                                                                                                                                          Defendants.
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                                                                                                                                  JOINT STIPULATION TO AMEND DISPOSITIVE MOTION DEADLINE
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                                                                                                                   1         Pursuant to Central District Local Rule 7-1 and this Court’s Civil Standing
                                                                                                                   2   Order, Plaintiff Evox Productions LLC (“EVOX”) and Defendants AOL Inc., Oath
                                                                                                                   3   Inc., and Verizon Media Inc. (“Defendants”) submit this Joint Stipulation to Amend
                                                                                                                   4   Dispositive Motion Hearing Deadline.
                                                                                                                   5         WHEREAS, on November 30, 2021, the Court issued a Civil Trial
                                                                                                                   6   Scheduling Order (Dkt. 122);
                                                                                                                   7         WHEREAS, on February 14, 2022, the Court reassigned the case to the
                                                                                                                   8   Honorable Maame Ewusi-Mensah Frimpong, vacating all pretrial conferences and
                                                                                                                   9   trial dates currently set for dates earlier than January 1, 2023, and directing the
                                                                                                                  10   parties to submit a joint case management statement (Dkt. 126);
                                                                                                                  11         WHEREAS, on March 1, 2022, the parties filed a Joint Case Management
                                                                                                                       Statement (Dkt. 127) that, among other things, described the deadlines in place
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                                                                                                                  13   before reassignment; that explained that Defendants intended to produce certain
                                                                                         FAX: (714) 241-4445
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                                                                                                                  14   page view analytics data; that EVOX intended to draft a supplemental expert report;
                                                                                                                  15   that Defendants intended to depose EVOX’s expert; and that requested that the
                                                                                                                  16   Court establish the following case deadlines:
                                                                                                                  17         September 22, 2022         Dispositive motion hearing cutoff
                                                                                                                  18         January 26, 2023           Last day to conduct settlement conference
                                                                                                                  19         February 2, 2023           Deadline for hearing on motions in limine
                                                                                                                  20         March 2, 2023              Final pre-trial conference
                                                                                                                  21         March 20, 2023             Jury trial
                                                                                                                  22         WHEREAS, Defendants’ intention to make a supplemental production
                                                                                                                  23   required that the parties file a Joint Stipulation to Amend Pretrial Deadlines on
                                                                                                                  24   March 9, 2022 (Dkt. 128);
                                                                                                                  25         WHEREAS, Defendants made supplemental productions on March 23, 2022
                                                                                                                  26   and April 22, 2022, and the parties’ spent the next several months discussing the
                                                                                                                  27   substance of Defendants’ supplemental productions;
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                                                              Case 2:20-cv-02907-MEMF-JEM Document 132 Filed 09/30/22 Page 3 of 6 Page ID #:3607



                                                                                                                   1         WHEREAS, the parties’ good faith discussions regarding the supplemental
                                                                                                                   2   productions delayed the drafting of EVOX’s supplemental report, and the parties
                                                                                                                   3   filed another Joint Stipulation to Amend Dispositive Motion Deadline on August 8,
                                                                                                                   4   2022 (Dkt. 130);
                                                                                                                   5         WHEREAS, although the parties have concluded their discussions regarding
                                                                                                                   6   the supplemental productions, and EVOX’s expert is diligently working on a
                                                                                                                   7   supplemental report, additional time will be necessary in order to finalize the report
                                                                                                                   8   and provide Defendants with an opportunity to depose EVOX’s expert;
                                                                                                                   9         WHEREAS, the parties met, conferred, and agreed to request an extension of
                                                                                                                  10   only the dispositive motion hearing deadline in order to accommodate the work of
                                                                                                                  11   EVOX’s expert and Defendants’ opportunity to depose him, all of which may be
                                                                                                                       material to Defendants’ anticipated motion for summary judgment that is otherwise
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                                                                                                                  13   due on October 6, 2022 under the Court’s Civil Standing Order;
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                                                                                                                  14         WHEREAS, granting the parties’ request for another extension of the
                                                                                                                  15   dispositive motion hearing deadline will not have an impact on the remainder of the
                                                                                                                  16   deadlines set by the Court;
                                                                                                                  17         THEREFORE, it is hereby stipulated by and between the parties, through
                                                                                                                  18   their respective counsel, to jointly request that the Court extend the dispositive
                                                                                                                  19   motion hearing deadline to December 22, 2022.
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                                                              Case 2:20-cv-02907-MEMF-JEM Document 132 Filed 09/30/22 Page 4 of 6 Page ID #:3608



                                                                                                                   1   DATED: September 30, 2022   CALLAHAN & BLAINE APLC
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                                                                                                                   3                               /s/ Jason Casero
                                                                                                                                                   Jason Casero
                                                                                                                   4                               Attorneys for Plaintiff
                                                                                                                                                   EVOX Productions, LLC
                                                                                                                   5

                                                                                                                   6   DATED: September 30, 2022   GIBSON, DUNN & CRUTCHER LLP
                                                                                                                   7

                                                                                                                   8                               /s/ Scott A. Adelman
                                                                                                                                                   Scott A. Edelman
                                                                                                                   9                               Attorneys for Defendants AOL, INC., OATH
                                                                                                                                                   INC. and VERIZON MEDIA INC.
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                                                                                                                   1                              SIGNATURE ATTESTATION
                                                                                                                   2         I, Jason Casero, am the ECF User whose identification and password are
                                                                                                                   3   being used to file the foregoing document. Pursuant to Civil Local Rule 5-
                                                                                                                   4   4.3.4(a)(2)(i) regarding signatures, I attest that concurrence in the filing of this
                                                                                                                   5   document has been obtained.
                                                                                                                   6
                                                                                                                       DATED: September 30, 2022             CALLAHAN & BLAINE APLC
                                                                                                                   7

                                                                                                                   8
                                                                                                                                                             /s/ Jason Casero
                                                                                                                   9                                         Jason Casero
                                                                                                                                                             Attorneys for Plaintiff
                                                                                                                  10                                         EVOX Productions, LLC
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                                                                                                                   1                             CERTIFICATE OF SERVICE
                                                                                                                   2        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                                                                                                                                      CALIFORNIA, CENTRAL DIVISION
                                                                                                                   3
                                                                                                                                        EVOX PRODUCTIONS LLC, v. AOL INC.
                                                                                                                   4
                                                                                                                                              Case No.: 2:20-cv-02907-FMO-JEM
                                                                                                                   5

                                                                                                                   6       I am employed in the County of Orange, State of California. I am over the
                                                                                                                     age of 18 years and am not a party to the within action; my business address is
                                                                                                                   7 3 Hutton Centre Drive, Ninth Floor, Santa Ana, California 92707.

                                                                                                                   8         On September 30, 2022, I served the following document(s) described as
                                                                                                                   9   JOINT STIPULATION TO AMEND DISPOSITIVE MOTION HEARING
                                                                                                                       DEADLINE
                                                                                                                  10

                                                                                                                  11   on the interested parties in this action by placing: ☐ the original ☒ a true copy
                                                                                                                       to the following e-mail addresses as follows:
                                                 3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                                                                                  12
CALLAHAN & BLAINE




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                                                                                                                             BY ELECTRONIC MAIL: I electronically filed such document with the
                                                     SANTA ANA, CALIFORNIA 92707
                                                                                      TELEPHONE: (714) 241-4444




                                                                                                                  13         Clerk of the Court using the CM/ECF system, which sent electronic
                                                                                         FAX: (714) 241-4445
                         ATTORNEYS AT LAW




                                                                                                                  14         notification of such filing to all other parties appearing on the docket sheet as
                                                                                                                             listed below:
                                                                                                                  15
                                                                                                                                           Scott Edelman, sedelman@gibsondunn.com
                                                                                                                  16
                                                                                                                                              Perlette Jura, pjura@gibsondunn.com
                                                                                                                  17
                                                                                                                                            Ilissa Samplin, isamplin@gibsondunn.com
                                                                                                                  18
                                                                                                                                            Shaun Mathur, smathur@gibsondunn.com
                                                                                                                  19

                                                                                                                  20
                                                                                                                            I declare under penalty of perjury under the laws of the United States of
                                                                                                                  21   America and the State of California that the foregoing is true and correct.
                                                                                                                  22         Executed on September 30, 2022, at Santa Ana, California.
                                                                                                                  23

                                                                                                                  24                                   Maria Martinez mmartinez@callahan-law.com
                                                                                                                  25

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                                                                                                                                JOINT STIPULATION TO AMEND DISPOSITIVE MOTION DEADLINE
